      Case 1:12-cr-00084-RJA-JJM Document 151 Filed 01/09/19 Page 1 of 3

                                                              OlSTR/
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



HAROLD HOWARD                                              tOEWENGOlii


                 PLAINTIFF,

                                               NOTICE OF MOTION

                V.                             12-CR-84




UNITED STATES


                 DEFENDANT.




     PLEASE TAKE NOTICE, that the undersigned will bring a motion under FEDERAL
RULES OF CRIMINAL PROCEDURE, RULE 33(b)(1), "FOR A NEW TRIAL" and FOR AN ORDER
APPOINTMENT OF COUNSEL TO REPRESENT ME."

BEFORE THIS COURT ON A DATE AND TIME TO BE PROVIDED BY THE COURT LATER.




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Executed on:                                 rold Howard
                                           FCI Hazelton
                                           P.O. Box 5000
                                           Bruceton Mills, WV 26525
     Case 1:12-cr-00084-RJA-JJM Document 151 Filed 01/09/19 Page 2 of 3




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                                   FCI Hazelton
                                   P.O. Box 5000
                                   Bruceton Mills, W 26525
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